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UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT

                                       Office of the Clerk

                                   After Filing an Appeal:
                                An Introduction for Attorneys


You have received this guide because you filed a notice of appeal to the U.S. Court of Appeals
for the Ninth Circuit. It provides information you need to know to represent an appellant before
the court.


                                        For Habeas Appeals

         If you are appealing the denial of a habeas corpus petition under 28 U.S.C. § 2254
         or 2255, you are receiving this guide because the district court or court of appeals
         has granted a certificate of appealability (COA) on one or more of the specific
         issues in the case.


Read this guide carefully. If you don’t follow instructions, the court may dismiss your case.




                                  This Guide Is Not Legal Advice

              Court employees are legally required to remain neutral; that means they can’t
              give you advice about how to win your case. However, if you have a question
              about procedure—for example, which forms to send to the court or when a
              form is due—this packet should provide the answer. If it doesn’t, you may
              contact the clerk’s office for more information.




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HOW AN APPEAL WORKS

The chart below shows the path of an appeal from the lowest federal court to the highest. Review
these steps to make sure you understand where you are in the process.



U.S. District Court, Tax Court, or BAP.
Your case in the U.S. Court of Appeals may
come from a U.S. District Court, Tax Court,
or the Bankruptcy Appellate panel. In a very
small number of cases, if the court of
appeals gives you permission, you can
appeal directly from the bankruptcy court to
the court of appeals. (See 28 U.S.C. § 158(d)
if you want more information about
appealing directly from a bankruptcy court.)

U.S. Court of Appeals. When reviewing the
lower court’s decision in your case, the court
of appeals (usually a panel of three judges)
will carefully consider everything that has
happened so far. The court will also read all
the papers that you and opposing counsel
file during your case. The court will look to
see whether a lower court or agency has
made a constitutional, legal, or factual
mistake. You are not allowed to present new
evidence or testimony in the court of
appeals.

U.S. Supreme Court. If you do not agree
with the decision of the court of appeals,           Your case may not go through all of the
you can ask the United States Supreme                stages shown above. For example, if the
Court to review your case. The Supreme               U.S. Court of Appeals resolves your case
Court chooses which cases it wants to                the way that you want, you won’t need to
hear. It reviews only a small number of              file a petition in the U.S. Supreme Court.
cases each year.




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PRACTICE RULES AND RESOURCES

This guide highlights rules that you absolutely must follow after filing a case. You are also
responsible for reviewing and following the Federal Rules of Appellate Procedure (Fed. R. App.
P.), the Ninth Circuit Rules (9th Cir. R.), and the general orders. The Federal Rules and the Ninth
Circuit Rules are available at www.ca9.uscourts.gov/rules.

    Practice Guides

In addition to the rules above, the following guides can support your practice before this court.
You can find these and other resources on the court’s website under Legal Guides:

       •   Appellate Practice Guide. A thorough manual of appellate practice prepared by the
           Appellate Lawyer Representatives and practice resources such as sample brief and
           excerpts of record.

       •   Perfecting Your Appeal. You can view this video for free at www.ca9.uscourts.gov or
           purchase it from the clerk’s office for $15.00.


    Appellate Mentoring Program

The appellate mentoring program provides guidance to attorneys who are new to federal
appellate practice or who would benefit from mentoring at the appellate level. Mentors are
volunteers who have experience in immigration, habeas corpus, or appellate practice in general.
If you are interested, a program coordinator will match you with a mentor, taking into account
your needs and the mentor’s particular strengths.

To learn more, email the court at mentoring@ca9.uscourts.gov or go to www.ca9.uscourts.gov.
On the website, select the “Attorneys” tab, look for “Appellate Mentoring Program,” then choose
“Information.”




IMPORTANT RULES FOR ALL CASES

The rules in this section apply to all attorneys who file a notice of appeal in the Ninth Circuit.
You must understand and follow each one.

    Ninth Circuit Bar Admission

To represent any party other than yourself before the court of appeals, you must be admitted to
the Bar of the Ninth Circuit. For instructions on how to apply, go to www.ca9.uscourts.gov.
Select the “Attorneys” tab, look for “Attorney Admissions,” then choose “Instructions.”


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    Register for Electronic Filing

Unless the court gives you an exemption, you must use the Ninth Circuit’s electronic filing
systems, called CM/ECF (Case Management/Electronic Case Files) and ACMS (Appellate Case
Management System). To learn more and to register, go to https://www.ca9.uscourts.gov/efiling/
then click “E-Filing in CM/ECF” or “E-Filing in ACMS,” depending on which system your
appeal was used by the Court when your appeal was opened.

For additional guidance on filing documents and making payments electronically, read the Ninth
Circuit Rules, especially Rule 25-5. For more information on filing in either system, including
how to tell which system your case has been opened in, go to
https://www.ca9.uscourts.gov/efiling/.

    Complete a Mediation Questionnaire

You must complete a mediation questionnaire in civil appeals unless your appeal is a habeas case
(28 U.S.C. §§ 2241, 2254 and 2255) or a petition for a writ (28 U.S.C. § 1651). (See 9th Cir. R.
3-4.) The court uses the questionnaire to assess settlement potential.

If you are required to complete a questionnaire, you must file it no later than seven days after the
clerk’s office dockets your case. To find the form, go to www.ca9.uscourts.gov/forms.

To request a conference with a mediator, call the Mediation Unit at (415) 355-7900, email
ca09_mediation@ca9.uscourts.gov, or make a written request to the Chief Circuit Mediator. You
may request conferences confidentially. For more information about the court’s mediation
program, go to www.ca9.uscourts.gov/mediation.

    Meet Your Deadlines

Read all documents you get from the court. They will contain important instructions and
deadlines for filing your court papers. If you miss a deadline or fail to respond to the court as
directed, the court may dismiss your case.

    Complete Your Forms Properly

Everything you send to the court must be clear and easy to read. If we can’t read your papers, we
may send them back to you. To make the clerk’s job easier, please:

 Include your case number on all papers you send to the court or to opposing counsel.

 Number your pages and put them in order.

 If you are exempt from filing electronically, use only one paper clip or a single staple to keep
    your documents organized. The clerk’s office must scan your documents and extra binding
    makes that job difficult.



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    Deliver Papers the Right Way

When you deliver papers to the court or to opposing counsel, you must take certain steps to show
you sent them to the right place on time.

 Use the correct address. Before you put anything in the mail, make sure the address is
  current and correct.

           •   To find current addresses for the court, see “How to Contact the Court,” at the end of
               this guide. All documents must be delivered to the San Francisco addresses. You
               may deliver a document to the court in person, but you must hand it to someone
               designated to receive documents in the clerk’s office.

           •   To find the correct address for opposing counsel, see opposing counsel’s notice of
               appearance. Opposing counsel should have sent a copy of this document to you after
               you filed your notice of appeal. The notice states opposing counsel’s name and
               address.

 Attach a certificate of service. You must attach a signed certificate of service to each
  document you send to the court or to opposing counsel unless the document will be served on
  all parties electronically via CM/ECF or ACMS.

 Send a copy of all documents to opposing counsel. When you send a document to the
  court, you must also send a copy (including any attachments) to opposing parties or counsel
  who are not registered for electronic filing.



    Keep Copies of Your Documents

Make copies of all documents you send to the court or to opposing counsel and keep all papers
sent to you.



    Pay the Filing Fee or Request a Waiver

The filing fee for your case is $505.00. The fee is due when you file your notice of appeal. If you
don’t pay the fee, you will receive a notice informing you that you have 21 days to either pay the
fee or request a waiver because the appellant can’t afford to pay.

       •   If appellant can afford the fee. Pay your fees directly to the district court or Tax
           Court. Do not send your payment to the court of appeals unless you are appealing a
           Bankruptcy Appellate Panel decision (see the note just below). Please note that after
           you pay the fee, the court cannot refund it, no matter how your case turns out.



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                                For Bankruptcy Appellate Panel Cases

              Submit your payment to the court of appeals using the electronic filing
              system or send a check or money order to the court. Make your check out
              to “Clerk, U.S. Courts.” Don’t forget to include your case number.


       •   If appellant can’t afford to pay. You may ask the court to waive the fee by filing a
           motion to proceed in forma pauperis. See “Filing Opening Motions,” below.

If you do not pay the fee or submit a waiver request by the deadline, the court will dismiss
your case. (9th Cir. R. 42-1).



If You Move, Tell the Court

If your mailing address changes, you must immediately notify the court in writing. (9th Cir. R.
46-3.)

       •   CM/ECF and ACMS. Electronic filers must update their information online at
           https://pacer.psc.uscourts.gov/pscof/login.jsf.

       •   Exempt Filers. If you are exempt from electronic filing in this court (you have
           received a written exemption from the court), file a change of address form with the
           court. You can find the form on the court’s website at www.ca9.uscourts.gov/forms.

If you don’t promptly change your address, including your email address, you could miss
important court notices and deadlines. As noted above, missing a deadline may cause the court to
dismiss your case.




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HANDLING AN APPEAL: THREE STAGES

This section will help you understand and manage the different parts of your case. We describe
the basic documents you must file with the court and the timing of each step.

To begin, review the chart below. It introduces the three stages of a case.




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    Stage One: Opening a Case

By the time you receive this guide, you have already opened a case by filing a notice of appeal.
In response, the clerk’s office created the case record and gave you a case number and a briefing
schedule.

If you haven’t already paid the filing fee, you must do so now unless your client was permitted to
proceed in forma pauperis by the district court and that has not been revoked. See “Pay the Filing
Fee or Request a Waiver,” above.

            The court may dismiss your case at any time. Even if you pay the fees and get
            a briefing schedule, the court may decide not to keep your case for a variety of
            legal reasons. If the court dismisses your case and you think the court was wrong,
            see “If You Don’t Agree with a Court Decision,” below.

Now is also the time to:

       •   start compiling excerpts of record
       •   order any transcripts you need from the district court, and
       •   file any opening motions with the court.

This section discusses each of these steps in turn.



    Preparing Excerpts of Record
The Ninth Circuit Court of Appeals does not require an appendix of record. Instead, you must
file excerpts of record with your opening brief. (See 9th Cir. R. 30-1.) Your excerpts of record
should be clear and well-organized. They should include all the documents that the court will
need to understand and decide the issues in your appeal.

Start putting together your excerpts of record now, before you write your opening brief. Then, as
you write the brief, you can mark each record page that you reference so you can easily add the
marked pages to your excerpts.

To learn the rules that govern what your excerpts should and should not include, and how to
format them, read 9th Cir. R. 30-1. We also recommend that you read Chapter X of Appellate
Practice Guide and review the sample excerpts provided; see “Practice Guides,” above.

    Ordering Transcripts
If your appeal will refer to matters discussed during district court hearings, you’ll want to include
a transcript of those hearings in your excerpts of record. To order transcripts, consult the district
court where your case originated.




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                                           For Bankruptcy Appeals

           If you are appealing a Bankruptcy Appellate Panel decision or a district court
           decision that began in bankruptcy court, your transcript designation form must
           also include any court orders or written pleadings—for example, motions and
           briefs filed earlier in your case—that you might want to include in your excerpts.


    Filing Opening Motions
Here are two common motions that you might make at the beginning of your case.

           Motion to Proceed in Forma Pauperis

File this motion to ask the court to waive the appellant’s filing fee. To file your motion, you must
complete and include Form 4: Motion and Affidavit for Permission to Appeal in Forma Pauperis.
The form is available on the court’s website at www.ca9.uscourts.gov/forms.

The court will grant your IFP motion only if it finds that:

       •    appellant has financial need, and
       •    your appeal is not frivolous.

If the court denies the IFP motion, you must then pay the fees or the court will dismiss your case.
(See Ninth Circuit Rule 42-1.)


                                     If Appellant Already Has IFP Status

           If a district court gave appellant permission to proceed in forma pauperis and no
           one has revoked that status, you don’t have to file again now. (See Federal Rule of
           Appellate Procedure 24(a).)



                                For Prisoners Filing Civil, Non-Habeas, Appeals

           Even if the court grants your IFP motion, appellant must pay the filing fee if he or
           she has sufficient funds in a prison account. (See 28 U.S.C. § 1915(b).) If this
           applies to you, we will notify you that fees are due. You must then complete and
           return a form to allow prison officials to deduct the funds from appellant’s prison
           account.




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           Motion for Transcripts at Government Expense

If the appellant has IFP status and you need to order transcripts from a district court, you might
want to file a motion for transcripts at government expense. You must first file this motion in the
district court. If the district court denies your motion, you may file the same motion in the court
of appeals. (See 28 U.S.C. § 753(f).) If you do so, be sure to follow the instructions in “How to
Write and File Motions,” below.

           Motion for Injunction Pending Appeal

You can also file a motion for injunction pending appeal, sometimes called a motion for
injunctive relief. Be specific about what type of relief you are asking for, why the court should
grant the relief, and the date by which you want the court to respond. In addition, be sure to
follow the instructions in “How to Write and File Motions,” below.



    Stage Two: Preparing and Filing Briefs

During the second stage of your case, you and opposing counsel will prepare and file written
briefs. The required components of a brief are set out in Fed. R. App. P. 28 and 32, and 9th Cir. R.
28-2, 32-1, and 32-2. You should familiarize yourself with those rules and follow them carefully.
In this section, we cover some key points of briefing practice.



    Opening Brief
You will write and file the first brief in your case. In the opening brief, you must:

       •    state the facts of the case
       •    describe the relief you are seeking for the appellant
       •    provide legal arguments to support your petition, and
       •    include citations to the excerpts of record.

Deadline for filing. You must file your opening brief and excerpts of record by the deadline
stated in the briefing schedule.

If you do not file your brief on time or request an extension, the court will dismiss your
case without notice.




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                                        For Habeas Appeals

         You are allowed to bring your appeal because a court gave you a certificate of
         appealability (COA) on one or more specific issues in your case. Before you write
         your opening brief, look closely at the court order granting your COA. It should
         list the specific issues on which you may appeal. You may discuss only those
         issues (the “certified issues”) unless you make changes to your brief. To ask the
         court to consider other issues, you must do both of the following:

               Add a heading titled “Certified Issues” and then discuss the issues your
                COA covers.

               Add a heading titled “Uncertified Issues” and then discuss any issues your
                COA does not cover.

         If you use these two headings, the court will read your “Uncertified Issues”
         section as a motion to expand the COA. For more information, read Ninth Circuit
         Rule 22-1(e).




                                   Tips for Writing Your Briefs


         Keep these points in mind to write a better brief:

         Avoid unnecessary words. Don’t use 20 words to say something you can say in
         ten.

         Think things through. Make logical arguments and back them up with legal
         rules.

         Be respectful. You can disagree without being disagreeable. Focus on the
         strengths of your case, not the character of others.

         Tell the truth. Don’t misstate or exaggerate the facts or the law.

         Proofread. Before you file, carefully check for misspellings, grammatical
         mistakes, and other errors.




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    Answering Brief

In response to your opening brief, opposing counsel may file an answering brief. If opposing
counsel files an answer, they must send a copy to you.

The time scheduling order sets the deadline for the answering brief. Please note that the opening
and answering brief due dates are not subject to the rules for additional time described in Fed. R.
App. P. 26(c). In particular, if you file your opening brief early, it does not advance the due date
for your opponent’s answering brief. (See 9th Cir. R. 31-2.1.)



    Reply Brief
You are invited to reply to opposing counsel’s answering brief, but you are not required to do so.
If you write a reply brief, do not simply restate the arguments in your opening brief. Use the
reply brief to directly address the arguments in opposing counsel’s answering brief.

You must file your reply brief within 21 days of the date the government serves you with its
answering brief.


    How to File a Brief
Rules for filing briefs depend on whether or not you are required to file electronically.

CM/ECF or ACMS. After we review and confirm your electronic submission, we will request
paper copies of the brief that are identical to the electronic version. Do not submit paper copies
until we direct you to do so. (See 9th Cir. R. 31-1.) You must also send two copies of the brief to
any exempt or unregistered opposing parties or counsel.

Exempt Filers Only. Please follow these steps:

 Send the original document and six copies of your brief to the court.

 Send two copies to opposing counsel.

 Attach a signed certificate of service to the original and to each copy for
  opposing counsel or party.

 Keep a copy for your records.




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    How to File Excerpts of Record

Submit your excerpts in PDF format using CM/ECF or ACMS on the same day that you submit
your brief. You must serve a paper copy of your excerpts on any unregistered party.

If the excerpts contain sealed materials, you must electronically submit the sealed documents
separately, along with a motion to file under seal. (9th Cir. R. 27-13(e).) You must serve sealed
filings on all parties by mail or by email if they are registered for electronic filing, or if mutually
agreed, rather than through CM/ECF or ACMS.

After approving your electronic submission, the clerk will direct you to file individually bound
paper copies of the excerpts of record with white covers.

To review the rules for filing excerpts, see 9th Cir. R. 30-1.



    If You Need More Time to File

Usually, you may ask for one streamlined extension of up to 30 days from the brief’s existing
due date. (See 9th Cir. R. 31-2.2(a) for conditions and exceptions.)

    •    CM/ECF or ACMS. Electronic filers do not need to use a written motion; you may
         submit your request without any attachment using the “Streamlined Request to Extend
         Time to File Brief” event on CM/ECF or ACMS on or before your brief’s existing due
         date. Do not attach Form 13 or any other document.

    •    Exempt Filers. Make your request by filing Form 13 on or before your brief’s existing
         due date. You can find Form 13 on the court’s website at www.ca9.uscourts.gov/forms.

If you need more than 30 days, or if the court has already given you a streamlined extension, you
must submit a written motion asking for more time. Your motion must show both diligence and
substantial need. You must file your request at least seven days before your brief is due. The
motion must meet the requirements of 9th Cir. R. 31-2.2(b). You may use Form 14 for this
motion, or write your own motion.

Usually, in response to an initial motion for more time, the court will adjust the schedule to some
extent, even if no order is issued before the existing due date. (See Circuit Advisory Committee
Note to Ninth Circuit Rule 31-2.2.) If you followed the correct procedures to ask for more time
but the court doesn’t respond by the date your brief is due, act as though the court has granted
your request and take the time you asked for.

    What Happens After You File
After you and opposing counsel have filed your briefs, a panel of three judges will evaluate the
case. Sometimes the court decides a case before briefing is complete (9th Cir. R. 3-6); if that
happens, we will let you know.



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Judges conduct oral hearings in all cases unless all members of the panel agree that oral
argument would not significantly aid the decision-making process. (Fed. R. App. P. 34(a)(2).)

Notification of oral hearings. We will notify you of the potential dates and location of an oral
hearing approximately 14 weeks in advance. After you receive notice, you have three calendar
days to inform the court of any conflicts. We provide public notice of calendars about ten weeks
before the hearing date.

Changes to oral hearing dates or location. The court will change the date or location of an oral
hearing only if you show good cause for the change. If you wish to submit a request to continue a
hearing, you must do so within 14 days of the hearing. Note, however, that the court grants such
requests only if you can show exceptional circumstances. (9th Cir. R. 34-2.)

Oral arguments are live streamed to YouTube. Viewers can access them through the court’s
website. Go to www.ca9.uscourts.gov and choose “Live Video Streaming of Oral Arguments and
Events.”



    Stage Three: The Court’s Final Decision

After the judges decide your case, you will receive a memorandum disposition, opinion, or court
order stating the result. If you are happy with the outcome, congratulations.

If you or opposing counsel didn’t get the final results you want, either of you may take the case
further. We explain your options in the section called “After Your Case,” below.




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HOW TO WRITE AND FILE MOTIONS

This section provides general guidelines for writing and filing motions, including motions
discussed elsewhere in this guide. The motion you want to make may have special rules—for
example, a different page limit or deadline—so be sure that you also read its description, as
noted below.



    How to Write a Motion

If you want to file a motion with the court, follow these guidelines:

 Clearly state what you want the court to do.

 Give the legal reasons why the court should do what you are asking.

 Tell the court when you would like it done.

 For criminal appeals, include the defendant’s bail status. (9th Cir. R. 27-2.8.1.)

 Tell the court what the opposing party’s position is. (Circuit Advisory Committee Note to
  Ninth Circuit Rule 27-1(5); 9th Cir. R. 31-2.2(b)(6).)

 If you are filing a response requesting affirmative relief, include your request in the caption.
  (Fed. R. App. P. 27(a)(3)(B)) and use the correct filing type

 Don’t write a motion that is more than 20 pages long unless you get permission from the
  court.

If you like, you may support your motion with an affidavit or declaration. (28 U.S.C. § 1746.)
Do not submit a proposed order.




                        Cases Scheduled for Argument or Submitted to a Panel

              If your case has been (1) scheduled for oral argument, (2) argued, or (3)
              submitted to or decided by a panel, then the first page or cover of your
              motion must include the date of argument, submission, or decision and, if
              known, the names of the judges on the panel. (9th Cir. R. 25-4.)




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    How to File a Motion

To file your motion, you must follow the rules described in “Deliver Papers the Right Way,” at
the beginning of this guide. Keep the following points in mind.

    •    CM/ECF or ACMS. For electronic filing, follow the instructions provided for each
         system on our website at https://www.ca9.uscourts.gov/efiling/. If there are any non-
         registered parties or your motion is submitted under seal, you must send a hard copy to
         that party or serve them by email if they have consented to that.

    •    Exempt Filers. Send the original document to the court and send a copy to opposing
         counsel. Remember to attach a signed certificate of service to the original and to any
         copies. Always keep a copy for your own records.

Note that you should not include a notice of motion or a proposed order with your motion. (Fed.
R. App. P. 27(a)(2)(C)(ii) and (iii).) Also note that in ACMS each request for relief or motion
must be submitted to the Court as a separate PDF file. (Administrative Order Regarding ACMS)



    What Happens After You File

The path of a motion depends on the details of your case. Certain motions—for example, a
motion to dismiss the case—may automatically stay the briefing schedule. (See 9th Cir. R. 27-
11.) The following steps are common after filing a motion.

Opposing counsel may respond. After you file a motion, opposing counsel has ten days to file a
response. (See Fed. R. App. P. 27(a)(3)(A); Fed. R. App. P. 26(c).) In the response, opposing
counsel will tell the court why it disagrees with the arguments in your motion.

You may reply to opposing counsel’s response. If opposing counsel responds, you may tell the
court why you think opposing counsel’s view is incorrect. If you file a reply, don’t just repeat the
arguments in your original motion. Instead, directly address the arguments in opposing counsel’s
response. You usually have seven days to file a reply with the court, starting on the day
opposing counsel serves you with their response. (See Fed. R. App. P. 27(a)(3)(B).) Normally, a
reply may not be longer than ten pages.

The court decides your motion. After you and opposing counsel file all papers related to the
motion, a panel of two or three judges will decide the issue.

    How to Respond to a Motion from Opposing Counsel

Your opponent may also submit motions to the court. For example, opposing counsel may file a
motion to dismiss the case or to ask the court to review the case more quickly than usual. If
opposing counsel files a motion, you are allowed to respond with your arguments against it.
Your response may not be longer than 20 pages.


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Usually, you must file your response with the court no more than ten days from the day the
motion is served on you.



                                Read More About These Motions

         If you are making one of the following motions, read the section noted here:

         Motion to proceed in forma pauperis in “Filing Opening Motions,” above.

         Motion for transcripts at government expense in “Filing Opening Motions,”
         above.

         Motion for injunctive relief pending appeal in “Filing Opening Motions,”
         above.

         Motion for extension of time to file a brief in “If You Need More Time to File,”
         above.

         Motion for reconsideration in “If You Don’t Agree With a Court Decision,”
         below.




                                      Emergency Motions

         An emergency motion asks the court to act within 21 days to avoid irreparable
         harm. Your motion must meet the requirements of 9th Cir. R. 27-3.

         If you need emergency relief, you must notify the Emergency Motions department
         in San Francisco before you file the motion. Call them at 415-355-8020 or e-mail
         emergency@ca9.uscourts.gov. Please note that a request for more time to file a
         document with the court or any other type of procedural relief does not qualify as
         an emergency motion. (See Circuit Court Advisory Committee Note to 27-3(3).)

         Finally, if you absolutely must notify the court of an emergency outside of standard
         office hours, call 415-355-8000. This line is for true emergencies that cannot wait
         until the next business day—for example, imminent removal from the United
         States.




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IF YOU DON’T AGREE WITH A COURT DECISION

If you think the court of appeals made an incorrect decision about important issues in your case,
you can ask the court to take a second look. You may do this during your case—for example, if
you disagree with the court’s ruling on a motion. Or you may ask the court to review its final
decision at the end of your case.



    During Your Case: Motion for Reconsideration

If you disagree with a court order or ruling during your case, you may file a motion for
reconsideration stating the reasons why you think the court’s ruling was wrong. Your motion
may not be longer than 15 pages.

A motion for reconsideration of an order that does not end the case—that is, a non-dispositive
order—is due within 14 days of the date stamped on the court order. (9th Cir. R. 27-10(a).) In
addition to these rules, please follow the general guidelines in “How to Write and File Motions,”
above.



    After Your Case: Motions and Petitions

If you think the court’s final decision in your case was wrong and you want to take further
action, you have two options:

         •    File a motion for reconsideration or petition for rehearing in this court.

              If the court decided your case in an order, then you would file a
               motion for reconsideration, as discussed just above. In civil
               appeals involving a federal party, you have 45 days (instead of 14
               days) to file a motion for reconsideration of a court order that
               ends your case. In all other cases you have 14 days. (9th Cir. R.
               27-10(a).)

              If the court decided your case in a memorandum disposition or
               opinion, then you would file a petition for rehearing, discussed
               below. The same deadlines apply.

         •    File a petition for writ of certiorari with the U.S. Supreme Court.

It is most common to do these things one after the other—that is, to file a petition for rehearing
or motion for reconsideration in this court and then, if that doesn’t succeed, petition the Supreme
Court. It is technically possible to file both petitions at the same time but that is not the typical
approach. Our discussion focuses on the common path.


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    Court of Appeals: Petition for Rehearing

To ask the court of appeals to review its final decision in your case, you must file a petition for
rehearing. Before starting a petition, remember that you must have a legal reason for believing
that this court’s decision was incorrect; it is not enough to simply dislike the outcome. You will
not be allowed to present any new facts or legal arguments in your petition for rehearing. Your
document should focus on how you think the court overlooked existing arguments or
misunderstood the facts of your case.



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A petition for rehearing may not be longer than 15 pages or 4200 words and must be
accompanied by a completed Form 11. Your petition is due within 14 days of the date stamped
on the court’s opinion or memorandum disposition, except that in civil cases involving a federal
party you have 45 days. To learn more about petitions for rehearing, see Fed. R. App. P. 40 and
40-1.

Petitions for panel rehearing generally go to the same three judges who heard and decided your
appeal. It is also possible to file a petition for rehearing en banc. This type of petition asks that
11 randomly selected judges review your case instead of the original three judge panel. The court
grants petitions for rehearing en banc only in rare, exceptional cases. To learn more about
petitions for rehearing en banc, see Fed. R. App. P. 35.



    U.S. Supreme Court: Petition for Writ of Certiorari

If the court of appeals denies your petition for rehearing—or if it rehears your case and issues a
new judgment you don’t agree with—you have 90 days from the denial order or the new decision
to petition the U.S. Supreme Court to hear your case. You do this by asking the Supreme Court
to grant a writ of certiorari. You must file the petition with the Supreme Court directly. A writ of
certiorari directs the appellate court to send the record of your case to the Supreme Court for
review.

The Supreme Court is under no obligation to hear your case. It usually reviews only cases that
have clear legal or national significance—a tiny fraction of the cases people ask it to hear each
year. Learn the Supreme Court’s Rules before starting a petition for writ of certiorari. (You can
find the rules and more information about the Supreme Court at www.supremecourt.gov.)




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HOW TO CONTACT THE COURT

    Court Addresses: San Francisco Headquarters

Mailing Address for                Mailing Address for              Street Address
U.S. Postal Service                Overnight Delivery
                                   (FedEx, UPS, etc.)
Office of the Clerk                Office of the Clerk              95 Seventh Street
James R. Browning                  James R. Browning                San Francisco, CA
Courthouse                         Courthouse                       94103
U.S. Court of Appeals              U.S. Court of Appeals
P.O. Box 193939                    95 Seventh Street
San Francisco, CA                  San Francisco, CA
94119-3939                         94103-1526

    Court Addresses: Divisional Courthouses

Pasadena                           Portland                         Seattle
Richard H. Chambers                The Pioneer Courthouse           William K. Nakamura
Courthouse                         700 SW 6th Ave, Ste 110          Courthouse
125 South Grand Avenue             Portland, OR 97204               1010 Fifth Avenue
Pasadena, CA 91105                                                  Seattle, WA 98104

    Court Website
     www.ca9.uscourts.gov
The court’s website contains the court’s rules, forms, and general orders, public phone directory,
information about electronic filing, answers to frequently asked questions, directions to the
courthouses, bar admission forms, opinions and memoranda, live streaming of oral arguments,
links to practice manuals, an invitation to join our pro bono program, and more.



Clerk’s Office Email
For general questions about court process and procedures, you can email the Clerk’s office at
questions@ca9.uscourts.gov




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